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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MARIANNE ANTCZAK, on behalf of
herself and other similarly situated persons
CLASS ACTION
Plaintiff,
NO. 2:17-cv-04947 (TJS)
VS.

TD AMERITRADE CLEARING, INC., TD
AMERITRADE, INC., TD AMERITRADE
INVESTMENT MANAGEMENT, LLC, :
ULTIMATE FINANCIAL INVESTMENTS, LLC :
and BRIDGET A. FERNANDEZ, individually

and professionally

Defendants.

MEMORANDUM IN RESPONSE TO THE CORRECTED MEMORANDUM IN
SUPPORT OF THE TDA DEFENDANTS' MOTION TO STRIKE THE CLASS ACTION
ALLEGATIONS AND COMPEL ARBITRATION OR, IN THE ALTERNATIVE,

DISMISS THE COMPLAINT
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